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7                                 UNITED STATES DISTRICT COURT
8                    IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
9

10   United States of America,                        )   Case No.: Cr.S-11-190-MCE-7
                                                      )
11                   Plaintiff,                       )   STIPULATION AND ORDER TO
                                                      )   MODIFY PRE-TRIAL RELEASE
12          vs.                                       )   CONDITIONS AND ALLOW
                                                      )   DEFENDANT, MANUEL KEITH, TO
13   Manuel Keith,                                    )   TRAVEL OUTSIDE THE U.S. ON TWO
                                                      )   SEPARATE PLEASURE TRIPS
14                   Defendant                        )
                                                      )
15                                                    )
                                                      )
16                                                    )
17

18                                        FACTUAL SUMMARY
19          Manuel Keith is asking permission to go on two separate, pleasure trips which are out of
20   the country. His friends wish to take him to the Dominican Republic from August 29, 2013 to
21   September 1, 2013 to celebrate his 29th birthday. He also wishes to attend the 30th anniversary
22   of his girfriend’s parents from October 25, 2013 to October 29, 2013, which is being held in
23   Jamaica. Prosecuting AUSA Jason Hitt is not opposed to either of these two travel requests.
24   Pretrial Services does not take a position on the matter and will defer to the Court to decide if the
25   travel request is appropriate.




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1            On April 19, 2012, Manuel Keith, who lives in New York, made his initial appearance in
2    U.S. District Court, Eastern District of New York, in the above-captioned action; was released on
3    an unsecured bond; and ordered to appear in the Eastern District of California on May 11, 2012.
4            On May 11, 2012, Manuel Keith appeared before Magistrate-Judge Dale A. Drozd and
5    was released on the unsecured bond, previously posted, and Special Conditions of Release were
6    imposed.
7            Relevant “Special Conditions of Release,” were as follows:
8            “No. 3 You are to reside at a location approved by the pretrial services officer and not
9    move or absent yourself from this residence for more than 24 hours without the prior approval of
10   the pretrial services officer;
11           No. 5 Your travel is restricted to the Eastern District of California and New York City
12   without the prior consent of the pretrial services officer;
13           No. 10 You shall surrender your passport to the Clerk, U.S. District Court, and obtain no
14   passport during the pendency of this case.”
15           Mr. Keith’s friend, Jess Masse, and a group of other friends, wish to take him to the
16   Dominican Republic as a birthday gift. The dates of travel would be from August 29th to
17   September 1st. They have rented a house which is located at El Batey 57600, Sosua, Dominican
18   Republic.
19           Also, as a separate trip, Mr. Keith wishes to accompany his girlfriend, Kiara Shepherd, to
20   the 30th anniversary of her parents, Sandra and Earl Shepherd, between October 25th and October
21   29th. The event will be at and Mr. Keith and Ms. Shepherd will be staying at the Jewel Runaway
22   Bay Beach & Golf Resort, Main Street, North Coast Hwy, St. Ann Runaway Bay, Ocho Rios,
23   Jamaica.
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1                                             STIPULATION
2

3           Plaintiff, United States, and Defendant, Manuel Keith, through their undersigned counsel,
4    hereby stipulate and agree that Special Conditions of Release detailed above, Numbers 3, 5, 10,
5    shall be modified for the dates of August 29, 2013 through September 1, 2013 and then again
6    separately and distinctly between the dates of October 25, 2013 and October 29, 2013, so that
7    Mr. Keith may go to both respective locations in the Dominican Republic and then Jamaica to
8    stay at the locations detailed above and that his passport shall be mailed to him, forthwith, for
9    use on these two detailed occasions, and he shall return the passport to the Clerk, U.S. District
10   Court for the Eastern District of California upon his return on or about October 29, 2013. The
11   passport shall be received by the Clerk on or before November 15, 2013.
12   IT IS SO STIPULATED.
13   DATED:         August 13, 2013                         BENJAMIN WAGNER
                                                            United States Attorney
14
                                                            /s/ Jason Hitt
15

16
                                                   by
                                                            Jason Hitt
17                                                          Assistant U.S. Attorney
                                                            by Jan David Karowsky
18                                                          w/ Mr. Hitt’s consent

19
     DATED:         August 13, 2013                         JAN DAVID KAROWSKY
20                                                          Attorney at Law
                                                            A Professional Corporation
21
                                                            /s/ Jan Karowsky
22

23                                                 by
                                                            JAN DAVID KAROWSKY
24                                                          Attorney for Defendant
                                                            Manuel Keith
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1            Pursuant to the stipulation of the parties, the Court hereby modifies Special Conditions of
2    Release numbers 3, 5, and 10, as requested; approves both requested trips; and orders the Clerk
3
     of the Court to mail Mr. Keith’s passport to him, forthwith, for use on these two trips, detailed in
4
     the Factual Summary. The Court further orders that Mr. Keith shall return his passport to the
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     Clerk, U.S. District Court for the Eastern District of California, upon his return on or about
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     October 29, 2013 and that said passport shall be returned to the Clerk on or before November 15,
7
     2013.
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             IT IS SO ORDERED.
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     Dated: August 13, 2013
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